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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 7
     TARA JEAN MCMANUS,
 8
                                  Plaintiff,               Case No. C23-1248 RSM
 9
            v.                                             SCHEDULING ORDER
10
     COMMISSIONER OF SOCIAL SECURITY,
11
                                  Defendant.
12

13
            The Court ORDERS the following briefing schedule:
14
            Plaintiff’s Opening Brief, limited to 18
15          pages or 6300 words whichever is less, is       March 21, 2024
            due:
16
            Defendant’s Response Brief, limited to 18       April 20, 2024, or within 30 days of the
17          pages or 6300 words whichever is less, is       date the opening is filed, whichever is
            due:                                            earlier.
18
            Plaintiff’s Optional Reply Brief, limited to    May 4, 2024, or within 14 days of the
19          9 pages or 3150 words whichever is less,        date the response is filed, whichever is
            is due:                                         earlier.
20

21          These dates and page limitations are firm and can be changed only by order of the Court,

22 not by agreement of counsel or the parties. Stipulations and motions to extend time or page

23 limitations must be noted on the Court’s calendar prior to the due date pursuant to the briefing



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 1 schedules established in LCR 10(g) and LCR 7, respectively. The Court will consider the case

 2 on written submissions unless otherwise ordered.

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                                        BRIEFING REQUIREMENTS
 4
            Plaintiff’s Opening Brief
 5
            (a) Beginning on page one, Plaintiff must list the errors alleged, followed by a clear
 6
     statement of the relief requested. General statements such as “the ALJ’s decision is not
 7
     supported by substantial evidence,” are unacceptable. The Court will not consider or rule on
 8
     assignments of error that are not listed in this section of the opening brief.
 9
            (b) Plaintiff shall provide a brief summary of the relevant procedural history and present
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     the relevant facts in the argument section in the context of the specific errors alleged. Plaintiff
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     should not set forth a separate lengthy recitation of background facts or medical evidence.
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            (c) The opening brief must fully explain each issue raised on page one and cite to the
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     specific pages of the administrative record and the relevant legal authority that support each
14
     argument and request for relief.
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            (d) The Court is familiar with the standard of review and the five step sequential
16
     evaluation process. The parties should thus avoid boilerplate discussions of these standards and
17
     should focus on applying relevant and controlling legal authority to the facts of this case.
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            Defendant’s Response Brief
19
            (a) Beginning on page one, Defendant shall indicate whether each error raised in the
20
     opening brief is disputed or undisputed. Defendant need not address Plaintiff’s procedural
21
     summary unless there is disagreement. Subsequent sections of the response brief must respond
22
     to each disputed assignment of error and request for relief, and must cite to the specific pages of
23
     the administrative record and relevant legal authority.


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 1         Personal Data and Formatting

 2         All briefs must conform to the redaction rules regarding personal data set forth in LCR

 3 5.2 and to the formatting requirements set forth in LCR 10.

 4         In addition, all briefs must use the Bates number stamped on the lower right-hand corner

 5 of each page when citing to specific pages of the administrative record.

 6         The Court may strike or return for correction briefs not conforming to this Order.

 7         DATED this 20th day of February, 2024.

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                                                        Ricardo S. Martinez
                                                        United States District Judge
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     SCHEDULING ORDER - 3
